

CONCURRING STATEMENT

CHIEF JUSTICE SAYLOR
Although I dissented in the controlling case, Commonwealth v. Muniz, — Pa. —, —, 164 A.3d 1189, 1228, 2017 WL 3173066 (2017) (Opinion Announcing the Judgment of the Court), I recognize that there was a majority consensus in that decision to the effect that SORNA exacts punishment and retroactive application of the enactment violates constitutional norms. Accordingly, while I have expressed my disagreement with these propositions, see id. at —, 164 A.3d at 1232-39, *34-39 (Saylor, C.J., dissenting), I join the present per curiam order based on the prevailing precedent.
